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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MATTHEW NORMAN SIMPSON,                          §
            Movant,                              §
                                                 §
v.                                               §    Civil No. 3:16-CV-3405-D
                                                 §    (Criminal No. 3:09-CR-249-D-6)
UNITED STATES OF AMERICA,                        §
               Respondent.                       §


                                           JUDGMENT

         The court has entered its order adopting the findings, conclusions, and recommendation of

the United States Magistrate Judge in this case. It is therefore ordered and adjudged that the motion

to vacate set aside or correct sentence under 28 U.S.C. § 2255 is denied and dismissed with

prejudice.

         Done at Dallas, Texas March 29, 2019.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE
